                                          UNITED STATES BANKRUPTCY COURT
                                                 FOR THE DISTRICT OF ARIZONA

                                               Audio Record of Hearing Held
Hearing Information:
                         Debtor:   BILTMORE 24 INVESTORS SPE, LLC
                  Case Number:     2:20-BK-04130-MCW           Chapter: 7

          Date / Time / Room:      WEDNESDAY, SEPTEMBER 16, 2020 10:00 AM TELEPHONIC HRGS


               Courtroom Clerk:    RENEE BRYANT
                Reporter / ECR:    N/A                                                                                          0.00


          Audio File Name:         PHL01437140.MP3
           Audio File Size:        43,383 KB
         Audio File Length:        01:32:33


         Help using this file:

                 An audio file is embedded as an attachment in this PDF document. To listen to the file, click the
                 Attachments tab or the Paper Clip icon. Select the Audio File and click Open.



                 This digital recording is a copy of a court proceeding and is provided as a convenience to
                 the public. In accordance with 28 U.S.C. § 753 (b) "[n]o transcripts of the proceedings of
                 the court shall be considered as official except those made from the records certified by the
                 reporter or other individual designated to produce the record."



Matters:

       1) DEBTORS' FIRST MOTION TO EXTEND EXCLUSIVE PERIOD WITHIN WHICH TO FILE DEBTORS' CHAPTER
          11 PLAN
          R / M #: 189 / 0

       2) PRELIMINARY HEARING ON TIG ROMSPEN US MASTER MORTGAGE LP'S MOTION FOR RELIEF FROM
          STAY AS TO THE FOLLOWING REAL PROPERTY: (I) UNDEVELOPED PARCEL AT 4640 N. 24TH ST.,
          PHOENIX; (II) UNDEVELOPED PARCEL AT 4605 N. SCOTTSDALE RD., SCOTTSDALE AND ADJACENT
          0.55-ACRE PARCEL; (III) UNDEVELOPED LEASEHOLD PARCEL AT 20855 N. 53RD ST., PHOENIX; (IV)
          APPROXIMATELY 5.92-ACRE UNDEVELOPED PARCEL SOUTH OF NE CORNER OF DEER VALLEY DR. AND
          56TH ST., PHOENIX FILED BY TIG ROMSPEN US MASTER MORTGAGE LP
          R / M #: 150 / 0

       3) DEBTORS' APPLICATION TO EMPLOY CUSHMAN & WAKEFIELD U.S., INC. AS REAL ESTATE BROKER AND
          OBJECTION THERETO
          R / M #: 176 / 0

       4) GENERAL STATUS HEARING (AS SET IN OPEN COURT ON 8/25/2020)
              R / M #:   230 / 0

                                                                                                                         1.00


Page 1 of 1                                                                                                          09/17/2020    7:33:45AM


  Case 2:20-bk-04130-MCW                        Doc 266 Filed 09/16/20 Entered 09/17/20 07:34:10                            Desc
                                                 Main document Page 1 of 2
                       UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF ARIZONA

                           Audio Record of Hearing Held




Page 1 of 1                                                             09/17/2020   7:33:45AM


  Case 2:20-bk-04130-MCW   Doc 266 Filed 09/16/20 Entered 09/17/20 07:34:10    Desc
                            Main document Page 2 of 2
